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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 CASSANDRA BERRY, ET AL.                                               CIVIL ACTION

 VERSUS                                                                NO. 10-4049

 JOHN WHITE, ET AL.                                                    SECTION A(4)




                                MINUTE ENTRY (JS-10: 40)

       On June 20, 2019, the Court held a status conference by telephone with the

following counsel in attendance: Neil Ranu, Victor Jones, and Jasmine Bolton for Plaintiffs;

Maree Sneed, Joan Ellen Hunt, and Chris Fruge for the LDOE; Wayne Stewart for Orleans

Parish School Board. Independent Monitors (“IMs”) Dale Bailey, Ken Swindol, and William

Swindol also participated.

       The Court asked the IMs to provide an update on the issue of potential errors with

the data sets used by the LDOE to select schools for targeted monitoring in the fall of 2017

and/or fall 2018. The IMs are working with the LDOE to identify any problems and to rectify

them. The Court asked the IMs to draft a short narrative explaining what occurred and what

should be done to address any errors.

       The IMs’ next report will not be delayed as a result of any errors with the data sets.

Instead, where appropriate, the IMs will simply withhold the compliance determination in

those areas where additional monitoring may be necessary to rectify any issues with the

data sets.

       The Court thanks counsel and the Independent Monitors for their continued

cooperation.

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